Case 9:08-cv-80736-KAM Document 290-1 Entered on FLSD Docket 01/20/2015 Page 1 of 3




                                                                      Government Exhibit A
                                                            Case No. 08-80736-CIV-MARRA
Case 9:08-cv-80736-KAM Document 290-1 Entered on FLSD Docket 01/20/2015 Page 2 of 3




                                                                      Government Exhibit A
                                                            Case No. 08-80736-CIV-MARRA
Case 9:08-cv-80736-KAM Document 290-1 Entered on FLSD Docket 01/20/2015 Page 3 of 3




                                                                      Government Exhibit A
                                                            Case No. 08-80736-CIV-MARRA
